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SCRANTO,,
UNITED STATES DISTRICT COURT PER
MIDDLE DISTRICT OF PENNSYLVANIA DEPUTY
UNITED STATES OF AMERICA =: No. 3:23-CR- 1417
v. : : (Judge Mannion)
DARYL RINKER, + + @lectronically filed)
Defendant :
PLEA AGREEMENT

The following Plea Agreement is entered by the United States.
Attorney for the Middle District of Pennsylvania and the above-
captioned defendant. Any reference to the United States or to the
Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s), Penalties, and Dismissal of Other Counts

1. Waiver of Indictment/Plea of Guilty. ‘The defendant agrees to

waive indictment by a grand jury and plead guilty toa felony
Information, which will be filed against the defendant by the
United States Attorney for the Middle District of Pennsylvania.
That Information will charge the defendant with a violation of
Title 18, United States Code, § 871, Conspiracy to Commit

Concealment and Disposal.of Major. Artwork, and Interstate

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_ Transportation of Stolen Property. The maximum penalty for
that offense is imprisonment for a period of five years, a fine of
$250,000, a maximum term of supervised release of three years,

_ tobe determined by the Court, which shall be served at the
conclusion of and in addition to any term of imprisonnient, the
costs of prosecution, denial of certain federal benefits, and an
assessment in the amount of $100. Atthe time the guilty plea
-is entered, the defendant shall admit to the Court that the
defendant is, in fact, guilty of the offenses charged'in the
Information. ‘The defendant signees that the United States may,
at its sole election, reinstate any dismissed charges or seek
additional charges in the event that any guilty plea entered or

‘sentence imposed pursuant to this Agreement is subsequently -
vacated, set aside, or invalidated by any Court. The defendant
further agrees to waive any defenses to reinstatement of those

charges, or the filing of additional charges, based upon laches,
the assertion of speedy trial rights, any applicable statute of

limitations, or any other ground. The calculation.of time under
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4.

the Speedy Trial Act for - when trial must commence is tolled as
of the date of the defendant’s signing of this Agreement, until
either (a) the defendant pleads guilty: or (b) a new date is set by
the Court for commencement of trial.

Venue Waiver. The defendant agrees to knowingly waive the

right to challenge venue over the charged offense in the United

States District Court for the Middle District of Pennsylvania.

Term of Supervised Release. The defendant also understands
that the Court may impose a term of supervised release
following any sentence of imprisonment exceeding’one year, or

when required by statute. The Court may require a term of

‘supervised release in any other case. In addition, the defendant

understands that as a condition of any term of supervised
release or probation, the Court must order that the defendant
cooperate in the collection of a DNA sample if the collection of a
sample is so authorized by law.

No Further Prosecution, Except Tax Charges. The United

States Attorney's Office for the Middle District of Pennsylvania
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agrees that it will not bring any other criminal charges against

the defendant directly arising out of the defendant’s

involvement in the offenses described above. However, nothing

in this Agreement will limit prosecution for criminal tax

_ charges, if any, arising out of those offenses.

‘B. Fines and Assessments

5.

Fine. The defendant understands that the Court may impose ae
fine pursuant to the Sentencing Reform. Act of 1984, The willful
failure to pay any fine imposed by the Court, in full, may be
considered a breach of this Plea Agreement. Further, the
defendant acknowledges that willful failure to pay the fine may,
subject the defendant to additional criminal violations and civil
penalties pursuant to Title 18, United States Code, § 3611, et

seq.

Alternative Fine. The defendant understands that under the

alternative fine section of Title 18, United States Code, § 3571,

the maximum fine quoted above may be increased if the Court.

finds that any person derived pecuniary gain or suffered

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pecuniary loss from the offense and that the maximum fine to
be imposed, if the Court elects to proceed in this fashion, could
be twice the amount of the gross gain or twice the amount of the
gross loss resulting from the offense.

Inmate Financial Responsibility Program. If the Court orders a

fine or restitution as part of the defendant’s sentence, and the

sentence includes a term of imprisonment, the defendant agrees
to voluntarily enter the United States Bureau of Prisons
administered program known as the Inmate Financial .
Responsibility Program, through which the Bureau of Prisons
will collect up to 50% of the defendant’s prison salary, and up to
50% of the balance of the defendant’s inmate account, and apply
that amount on the defendant's behalf to the payment of the

outstanding fine and restitution orders.

Special Assessment. The defendant understands that the Court
will impose a special assessment of $100, pursuant to the
provisions of Title 18, United States Code, § 3013. No later

than the date of sentencing, the defendant or defendant’s

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counsel shall mail a check in payment of the special assessment
directly to the Clerk, United States District Court, Middle
District of Pennsylvania. If the defendant intentionally fails to
make this payment, that failure may be treated as.a breach of
this Plea Agreement and may result in further prosecution, the

-filing of additional criminal charges, or a contempt citation. -

9. Collection of Financial Obligations. In order to facilitate the
collection of financial obligations imposed in connection with
this case, the defendant consents and agrees: yO
a. to fully disclose all assets in which the defendant has an-

interest or over which the defendant has control, directly or
indirectly, including those held by a spouse, nominee, or
' other third party:
b. to submit to interviews by the Government regarding the —
defendant’s financial status;
c. tosubmita complete, accurate, and truthful financial

statement, on the form provided by the Government, to the
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United States Attorney’s Office no later than 14 days
following entry of the guilty plea;

d. whether represented by counsel or not, to consent to contact

by and communication with the Government, and to waive
any prohibition against communication with a represented
party by the Government regarding the defendant's
financial status;

e. to authorize the Government to obtain the defendant’s
credit reports in order to evaluate the defendant’s ability to
satisfy any financial obligations imposed by the Court; and

f. to submit any financial information requested by the
Probation Office as directed, and to the sharing of financial
information between the Government and the Probation

- Office.

C. Sentencing Guidelines Calculation

10. Determination of Sentencing Guidelines. The defendant and
‘counsel for both parties agree that the United States Sentencing

‘Commission Guidelines, which took effect on November 1, 1987,

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‘11.

and its amendments (the “Sentencing Guidelines”), will apply to
the offense or offenses to which the defendant is pleading guilty.
The defendant understands that the Sentencing Guidelines are
advisory and not binding on the Court. The defendant further
agrees that any legal and factual issues relating to the
application of the Sentencing Guidelines to the defendant’s
conduct, including facts to support any specific offense
characteristic or other enhancement or adjustment and the

appropriate sentence within the statutory maximunis provided

- for by law, will be determined by the Court after briefing, a pre-

sentence hearing, or a sentencing hearing.

Acceptance of Responsibility— Two/Three Levels. If the
defendant can adequately demonstrate recognition and
affirmative acceptance of responsibility to the Government as
required by the Sentencing Guidelines, the Government will _
recommend that the defendant receive a two- or three-level -
reduction in the defendant's offense level for acceptance of

responsibility. The third level, if applicable, shall be within the
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12.

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discretion of the Government under U.S.S.G. § 8E1.1. The
failure of the Court to find that the defendant is entitled toa

reduction shall not be a basis to void this Agreement.

Specific Sentencing Guidelines Recommendations. With respect

to the application of the Sentencing Guidelines to the

_ defendant’s conduct, the parties agree to recommend as follows:

' Each party reserves the right to make whatever remaining

arguments it deems appropriate with regard to application of
the United States Sentencing Commission Guidelines to the
defendant's conduct. The parties agree that a sentence within.
this range of the Sentencing Guidelines is a reasonable sentence
under the facts and circumstances of this case. Under U.S.S8.G.
§2B1.5(a) and §2X1.1, the Base Offense Level is 8. Under
U.S.S.G. §2B1.5(b)(D)(B), if the value of the cultural heritage
resources exceeds $6,500, the offense level will be increased by
the number of levels from the table in USS.G. §2B1.1
corresponding to the value of the “objects of cultural heritage”

relevant to the defendant’s conduct. Both parties agree that the
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defendant’s relevant conduct only includes the thefts from

vo Space Farms: Zoo & Museum in 2018, Ringwood Manor, Cade’s
Coins, and the Antiques Exchange. The defendant understands
that any recommendations are not binding upon either the
Court or the United States Probation Office, which may make
different findings as to the application of the Sentencing
Guidelines to the defendant’s conduct. The defendant further
understands that the United States will provide the Court and
the United States Probation Office all information in its
possession that it deems relevant to the application of the ©

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Sentencing Guidelines to the defendant's conduct.

D. Sentencing Recommendation

13. Appropriate Sentence Recommendation. At the time of
sentencing, the United States may make a recommendation
that it considers appropriate based upon the nature and
circumstances of the case and the defendant’s participation in
the offense, and specifically reserves the right to recommend a

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sentence up to and including the maximum sentence of

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imprisonment and fine allowable, together with the cost of
prosecution.

14. Special Conditions of Probation/Supervised Release. If

probation or a term of supervised release is ordered, the United

States may recommend that the Court impose one or more

special conditions, including but not limited to the following:

a. The defendant be prohibited from possessing a firearm or

other dangerous weapon.

b. The defendant make restitution, if applicable, the payment
of which shall be in accordance with a schedule to be
determined by the Court.

c. The defendant pay any fine imposed in accordance with a
schedule to be determined by the Court.

d. The defendant be prohibited from incurring new credit
charges or opening additional lines of credit without
approval of the Probation Office unless the defendant is in

compliance with the payment schedule:

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h.

The defendant be directed to provide the Probation Office
and the United States Attorney access to any requested
financial information.

The defendant be confined ina community treatment
center, halfway house, or similar facility.

The defendant be placed under home confinement.

The defendant be ordered to perform community service.
The defendant be restricted from working in certain types of
occupations or with certain individuals if the Government
deems such restrictions to be appropriate.

The defendant be directed to attend substance abuse
counseling, which may include testing to determine whether .
the defendant is using drugs or alcohol.

The defendant be directed to attend psychiatric or

_ psychological counseling and treatment in a program

approved by the Probation Officer.
The defendant be denied certain federal benefits including

contracts, grants, loans, fellowships, and licenses.

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m. The defendant be directed to pay any state or federal taxes
and file any and all state and federal tax returns as
required by law.

E. Forfeiture of Assets -
15. Forfeiture. The present Information seeks forfeiture of the
defendant’s interests in certain assets. In the event the United

States seeks to forfeit those assets through a civil proceeding,

the defendant understands that dismissal of the criminal

forfeiture allegation in no way limits the United States from
proceeding civilly against any assets owned or held by the
defendant or any other party. Defendant agrees to settle any
civil and criminal forfeiture matters arising out of the offense of
conviction and its relevant conduct. The defendant agrees that
the defendant's property constitutes proceeds of, is derived from -
proceeds traceable to, or was used in any manner or part to
commit or facilitate the commission of the offense of conviction

and its relevant conduct. Defendant further agrees to the

“ following:
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a.

Forfeiture of all properties, real and personal listed in the
Forfeiture Allegation of the Information:

Immediate entry of the preliminar : order of forfeiture or the
filing of a civil complaint by the United States, pursuant to
Title 18, United States Code, § 981;

Waiver of the right. to personal service of all process and
naming of Christopher P. Caputo, Esq. 730 Main Street,
Moosic, Pennsylvania, 18507, as agent for service of all
process;

Waiver of the right to appear and contest any portion of the
forfeiture proceedings, including but not limited to, any
motion or proceeding for substitute assets;

The filing and entry of a consent decree of forfeiture:
Disclosure, no later than upon signing this Agreement, of all
persons and entities holding an equitable or legal interest in
the property, real or personal, subject to forfeiture pursuant ~

to this Agreement;

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-h.

k.

Concurrence in any motion necessary to be filed and signing”

any documents necessary to effectuate forfeiture:

Payment of costs associated with the seizure, storage, and

'. maintenance of any asset being returned to the defendant

as a result of this Agreement;

In the event any assets are being returned to the defendant,
such return does not amount to having “substantially
prevailed” in the pursuit of any claim, and to make no claim
against the United States or any. of its agencies or
employees, including claims for attornéy’s fees and costs of

litigation;

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- Waiver of any double jeopardy challenges the defendant

may have to any administrative or civil forfeiture actions,
pending or completed, arising out of the course of conduct _
forming the basis for the forfeitures; and

Waiver of all constitutional, legal. and equitable claims
arising out of and defenses to the forfeiture of this property

in any proceeding, including any claim of innocent

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ownership and any claim or defense under the Eighth

Amendment, including any claim of excessive fine.

16. Disclosure of Assets. This Agreement is entered by the United
States on the basis of the express representation that the
defendant is making full and complete disclosure of all assets

over which the defendant exercises control. The defendant
agrees to submit to a polygraph examination by an examiner
selected by the Government to verify the deferidant’s-complete
and candid compliance with this provision of the Agreement. .
The defendant also understands that a failure to make a full
disclosure or lack of candor revealed by a polygraph
examination would constitute a breach of this Agreement,
subjecting the defendant to the sanctions set forth in this |
Agreement. Conditioned upon such full disclosure, the United
States agrees not to seek the seizure/forfeiture of any of the

defendant’s assets other than those set forth in this Agreement.

17. No Further Forfeiture. As the result of the forfeitures set forth

above, the United States agrees not to seek forfeiture of any
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other asset known to the United States by defendant's
disclosure to belong to the defendant or the defendant’s family.
This Agreement does not ‘prevent the IRS from the collection of -

taxes or the seizure of assets to satisfy those taxes.

18. Forfeiture of Interests/Passage of Clear Title/Destruction Order.
By this Agreement, the defendant agrees to forfeit all interests
in the assets set forth above and to take whatever steps are

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necessary to pass clear title of those assets to the United States.
These steps include but are not limited to surrender of title:
signing of a consent decree; stipulating.to facts regarding the

- transfer and basis for the forfeitures: and concurrence in any
motion and signing any document necessary to effectuate such

transfers.

19. Destruction Order/Waivers. The defendant further agrees,

should the United States deem it appropriate, to the destruction
of the items seized during the course of the investigation. The
defendant agrees that the items may be destroyed by the

investigative agency with or without a court order authorizing

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the destruction of the items seized. If the United States
determines that a destruction order should be obtained, the
defendant and defendant’s counsel hereby concur in a motion for
such an order. The defendant further agrees to waive all
interest in the assets in any administrative or judicial forfeiture
proceeding, whether criminal or civil, state, or federal. The
defendant consents and waives all rights to compliance by the
United States with any applicable deadlines under 18 U.S.C. §
983(a). Any related administrative claim filed by the defendant
is hereby withdrawn. The defendant agrees to consent to the
entry of orders of forfeiture for such property and waives the
requirements of Federal Rules of Criminal Procedure 32.2 and
43(a) regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and -
incorporation of forfeiture in the judgment.

20. Forfeiture of Firearms Possessed in Connection with the

Offense. The United States and the defendant hereby agree

that the W.F. Mills & Son Model 1860 7-barrel percussion rifle,
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serial number 2193, and Colt Model 1939 Revolving Shotgun,
which. are firearms as defined in 18 U.S.C., § 921, seized during
the investigation and currently in the custody and control of the
Federal Bureau of Investigation were properly seized and were .
possessed, involved in or used in a violation of 18 U.S.C. §371,
Conspiracy to Commit Concealment or Disposal of Major
Artwork, and Interstate Transportation of Stolen Property, to -
which the defendant will plead guilty. The defendant agrees
that the firearm is subject to forfeiture to the United States
pursuant to 18 U.S.C. § 924. The defendant hereby relinquishes:
to the United States any claim, title and interest the defendant ,
has in said firearm(s). The defendant agrees to withdraw any
claim made in any civil, administrative, or judicial forfeiture
brought against said firearm, and further agrees not to oppose
any civil, administrative, or judicial forfeiture of said firearm.

_ F.. Victims’ Rights and Restitution

21. Victims’ Rights. The defendant understands that pursuant to

the Victim and Witness Protection Act, the Crime Victims’ -
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Rights Act, the Justice for All Act, and the regulations
promulgated under those Acts by the Attorney General of the
United States, crime victims have the following rights:
a. The right to be reasonably protected from the accused)
—b. The right to reasonable, accurate, and timely notice of any
public court proceeding or any parole proceeding involving
the crime, or of any release or escape of the accused?

c. The right not to be excluded from any such public court
proceeding, unless the Court, after receiving clear and

~ convincing evidence, deterinines that testimony by the .
victim would be altered materially if the victim heard other
testimony at that proceeding;

d. The right to be reasonably heard at any public hearing in
the Court involving release, plea, sentencing, or any parole
proceeding. The defendant understands that the victims’
comments and recommendations at any of these proceedings
may be different than those of the parties to this

Agreement;
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h.

The reasonable right to confer with the attorney for the
Government in the case. The defendant understands that .
the victims’ opinions and recommendations given to the
attorney for the Government may be different than those |
presented by the United States as a consequence of this
Agreement;

The right to full and timely restitution as provided for by

- law. The attorney for the Government is required to “fully

advocate the rights of victims on the issue of restitution
unless such advocacy would unduly prolong or complicate
the sentencing proceeding,” and the Court is authorized to
order restitution by the defendant including, but not limited
to, restitution for property logs, economic loss, personal
injury, or death;

The right to proceedings free from unreasonable delay; and
The right to be treated with fairness and with respect for

the victim’s dignity and privacy.
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22. Restitution. The defendant acknowledges that, pursuant to the
Mandatory Restitution Act of April 24, 1996, Title 18, United
States Code, § 36634, the Court is required in all instances to
order full restitution to all victims for the losses those victims:
have suffered as a result of the defendant's conduct. The
defendant also agrees that the Government will seek, and the
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Court may impose an order of restitution as to victims of the
defendant’s relevant conduct, which is limited to Space Farms:
Zoo & Museum, Ringwood Manor, Cade’s Coins, and Antique’s
Exchange. With respect to the payment of restitution, the
defendant further agrees that, as part of the sentence in this
matter, the defendant shall be responsible for making payment
of restitution in full, unless the defendant can demonstrate to -
the satisfaction of the Court that the defendant’s economic
circumstances do not allow for the payment of full restitution in
the foreseeable future, in which case the defendant will be
required to make partial restitution payments. In addition to

the schedule of payments that may be established by the Court,
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the defendant understands and agrees that, pursuant to the
Mandatory Victims Restitution Act of 1996 and the Justice For _
All Act of 2004, victims of federal crimes are entitled to full and .
timely restitution. As such, these payments do not preclude the
Government from using other assets or income of the defendant ~
to satisfy the restitution obligation. The defendant understands
and agrees that the United States Attorney's Office, by and
through the Financial Litigation Unit, has the obligation and
the right to pursue any legal means, including but not limited
to, submission of the debt to the Treasury Offset Program, to
collect the full amount of restitution owed to the victims in a
timely fashion. Although the defendant may reserve the right

to contest the amount of restitution owed, the defendant agrees
to take all steps to facilitate collection of all restitution,
including submitting to debtor's exams as directed by the

Government. Towards this goal, the defendant agrees to waive |
any further notice of forfeiture and agrees that the. United

States may, at its sole election, elect to pursue civil or criminal

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forfeiture in the amount of the victim restitution.owed in this -
case, and the Court may enter both a restitution order and a
forfeiture judgment in the amount of any unpaid restitution -

found by the Court to be due and owing at the time of
sentencing in this matter. The defendant consents to the filing
of any civil complaint or superseding information which may be
necessary to perfect a forfeiture order and further stipulates
and agrees that the defendant's guilty plea constitutes an
admission to all matters legally and factually necessary for
entry of a forfeiture order in this case. The parties agree that

. the Government will recommend, but cannot guarantee, that
any assets recovered through forfeiture proceedings be remitted
to crime victims to reduce the defendant's restitution obligation
in this case. The defendant acknowledges that the making of
any payments does not preclude the Government from using
other assets or income of the defendant to satisy the restitution
obligation. The defendant understands that the amount of

restitution calculated for purposes of Chapter 5 of the

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Sentencing Guidelines might be different from the amount of
loss calculated for purposes of Chapter 2 of the Sentencing |
- Guidelines.

23. Full Restitution by Schedule. The defendant agrees to make

-full restitution in accordance with a schedule to be determined

by the Court.

. Information Provided to Court and Probation Office

24. Background Information for Probation Office. The defendant
understands that the United States will provide to the United
States Probation Office all information in its possession that the
United States deems relevant regarding the defendant’s
background, character, cooperation, if any,.and involvement in
this or other offenses. -

25. Objections to Pre-Sentence Report. The defendant understands

that pursuant to the United States District Court for the Middle
District of Pennsylvania’s “Policy for Guideline Sentencing,”
both the United States and defendant must communicate to the

Probation Officer within 14 days after disclosure of the pre-

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sentence report any objections they may have as to material
information, sentencing classifications, applicable Sentencing
Guidelines ranges, and policy statements contained in or
omitted from the report. The defendant agrees to meet with the
United States at least five days prior to sentencing in a good
faith attempt to resolve any substantive differences. ‘Tf any
issues remain unresolved, they shal] be communicated to the
Probation Officer for inclusion in an addendum to the pre-
sentence report. The defendant agrees that unresolved
substantive objections will be decided by the Court after
briefing, a pre-sentence hearing, or at the sentencing hearing,
where the standard or proof will be a preponderance of the
evidence, and the Federal Rules of Evidence, other than with
respect to privileges, shall not apply under Fed. R. Evid.
1101(d)(3), and the Court may consider any reliable evidence,
including hearsay. Objections by the defendant to the pre-
sentence report or the Court's rulings, will not be grounds for

withdrawal of a plea of guilty.
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26. Relevant Sentencing Information. At sentencing, the United

States will be permitted to bring to the Court’s attention, and

_the Court will be permitted to consider, all relevant information
about the defendant’s background, character and conduct,
including the conduct that is the subject of the charges that the

United States has agreed to dismiss, and the nature and extent
of the defendant's cooperation, if any. The United States will be
entitled to bring to the Court's attention and the Court will be
entitled to consider any failure by the defendant to fulfill any
obligation under this Agreement.

27. Non-Limitation on Government’s Response. Nothing in this

Agreement shall restrict or limit the nature or content of the
United States’ motions or responses to any motions filed on
behalf of the defendant. Nor does this Agreement in any way
restrict the Government in responding to any request by the
Court for briefing, argument or presentation of evidence

regarding the application of Sentencing Guidelines to the.
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defendant’s conduct, including but not limited to, requests for

information concerning possible sentencing departures.

H. Court Not Bound by Plea Agreement

28.

Court Not Bound by Terms. The defendant understands that

the Court is not a party to and is not bound by this Agreement, —

- or by any recommendations made by the parties. Thus, the

Court is free to impose upon the defendant any sentence up to
and including the maximum sentence of imprisonment for five
years, a fine of $250,000, a maximum term of supervised release
of up to three years, which shall be served at the conclusion of
and in addition to any term of imprisonment, the costs of

prosecution, denial of certain federal benefits, and assessments

totaling $100.

. No Withdrawal of Plea Based on Sentence or Recommendations.

If the Court imposes a sentence with which the defendant is
dissatisfied, the defendant will not be permitted to withdraw
any guilty plea for that reason alone, nor will the defendant be

permitted to withdraw any guilty plea should the Court decline
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to follow any recommendations by any of the parties to this
Agreement.

I. Breach of Plea Agreement by Defendant

30. Breach of Agreement. In the event the United States believes

the defendant has failed to fulfill any obligation under this

/ Agreement, then the United States shall, in its discretion, have
the option of petitioning the Court to be relieved of its
obligations under this Agreement. Whether the defendant has
completely fulfilled all of the obligations under this Agreement
shall be determined by the Court in an appropriate proceeding,
during which any disclosures and documents provided by the
defendant shall be admissible, and during which the United
States shall be required to establish any breach by a
preponderance of the evidence. In order to establish any breach
‘by the defendant, the United States is entitled to rely.on
statements and evidence given by the defendant during the

~ cooperation phase of this Agreement, if any.

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31. Remedies for Breach. The defendant and the United States

agree that in the event the Court concludes that the defendant

has breached the Agreement:

a. The defendant will not be permitted to withdraw any guilty
plea tendered under this Agreement and agrees not to
petition for withdrawal of any guilty plea:

b. The United States will be free to make any
recommendations to the Court regarding sentencing in this
case;

c. Any evidence or statements made by the defendant during
the cooperation phase of this Agreement, if any, will be

_admissible at any trials or sentencings;

d. The United States will be free to bring any other charges it
has against the defendant, including any charges originally
brought against the defendant or which may have been
under investigation at the time of the plea. The defendant |
waives and hereby agress not to raise any defense to the

reinstatement of these charges based upon collateral

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~ estoppel, Double Jeopardy, statute of limitations, assertion

of Speedy Trial rights, or other similar grounds.

32. Violation of Law While Plea or Sentence Pending. The
“defendant understands that itis a condition of this Agreement
that the defendant refrain from any further violations of state,
local, or federal law while awaiting plea and sentencing. The
defendant acknowledges and agrees that if the Government
receives information that the defendant has committed new
crimes while awaiting plea or sentencing in this case, the
Government may petition the Court and, if the Court finds by a
preponderance of the evidence that the defendant has
committed any other criminal offense while awaiting plea or
sentencing, the Government shall be free at its sole election to
- either: (a) withdraw from this Agreement: or (b) make any
sentencing recommendations to the Court that it deems
appropriate. The defendant further understands and agrees
that, if the Court finds that the defendant has committed any

other offense while awaiting plea or sentencing, the defendant

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will not be permitted to withdraw any guilty pleas tendered
pursuant to this Agreement, and the government will be
permitted to bring any additional charges that it may have
against the defendant.

J. Appeal Waiver

33. Appeal Waiver — Direct. The defendant is aware that Title 28,
United States Code, § 1291 affords a defendant the right to
appeal a judgment of conviction and sentence; and that Title 18,

‘United States Code, § 3742(a) affords a defendant the right. to
appeal the sentence imposed. Acknowledging all of this, the
defendant knowingly waives the right to appeal the conviction
and sentence. This waiver includes any and all possible
grounds for appeal, whether constitutional or non-
constitutional, including, but not limited to, the manner in
which that sentence was determined in light of United States Vv.
‘Booker. 543 US. 220 (2008). The defendant further

acknowledges that this appeal waiver is binding only upon the

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84.

defendant and that the United States retains its right to appeal
inthis case. _ 1.

Collateral Appeal Waiver. The defendant acknowledges, _

“understands and agrees that, by pleading guilty pursuant to

this Agreement, the defendant voluntarily and knowingly
waives the right to collaterally. attack the defendant’s
conviction, sentence, or aiiy other matter relating to this
prosecution, including but not limited toa motion te vacate

judgment under Title 28, United States Code, Section 2255; a

petition for a writ of habeas corpus under Title 28, United

‘States Code, Section 2241; or any other motion or writ seeking

collateral relief. However, no provision of this agreement shall

preclude the defendant from pursuing in an appropriate forum

‘any appeal, collateral attack, writ, or motion claiming that the

defendant received constitutionally ineffective assistance of
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counsel. In the event the defendant raises a claim of ineffective

assistance of counsel, the defendant hereby agrees (a) that the

Government retains its right to oppose any such claim on
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_ procedural or substantive grounds; and (b) that counsel for the -

35.

United States may confer with any of the defendant's prior
counsel whose performance is attacked in such a claim, for
purposes of preparing any response or for any hearing

necessitated by the filing of such a claim.

Appeal Waiver Breach. The defendant acknowledges that
pursuing a direct appeal or any collateral attack waived in the
preceding paragraph(s) may constitute a breach of this
Agreement. The Government agrees that the mere filing of a
notice of appeal is not a breach of the Agreement. The
Government may declare a breach only after the defendant or
the defendant’s counsel thereafter states, either orally or in
writing, a determination to proceed with an appeal or collateral
attack raising an issue the Government deems barred by the
waiver. The parties acknowledge that the pursuit of an appeal
or any collateral attack constitutes a breach only if a court
determines that the appeal or collateral attack does not present

an issue that a judge may reasonably conclude is permitted by

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an exception to the waiver stated in the preceding paragraph(s)
or constitutes a “miscarriage of justice” as that term is defined
in applicable law.

K. Other Provisions

36. Agreement Not. Binding on Other Agencies, Nothing in this
Agreement shall bind any other United States Attorney’s Office,
state prosecutor’s office, or federal, state, or local law
enforcement agency.

87. No Civil Claims or Suits. The defendant agrees not. to pursue or

initiate any civil claims or suits against the United States of
America, its agencies or employees, whether or not presently
known to the defendant, arising out of the investigation,
prosecution or cooperation, if any, covered by this Agreement,
including but not limited to any claims for attorney’s fees and
other litigation expenses arising out of the investigation and
prosecution of this matter. By the defendant’s guilty plea in

this matter the defendant further acknowledges that the

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Government's position in this litigation was taken in good faith,

had a substantial basis in law and fact and was not vexatious.

38. Plea Agreement Serves Ends of Justice. The United States is
entering this Agreement with the defendant because this
disposition of the matter fairly and adequately addresses the
gravity of the offenses from which the charges are drawn, as
well as the defendant’s role in such offense(s), thereby serving °

: the ends of justice.

39. ‘Merger of All Prior Negotiations. This document states the

complete and only Agreement between the United States
Attorney for the Middle District of Pennsylvania and the
defendant in this case, and is binding only on the parties to this
Agreement and supersedes all prior understandings or plea
offers, whether written or oral. This agreement cannot be
modified other than in writing that is signed by all parties or on
the record in court. .No other promises or inducements have
been or will be made to the defendant in connection with this

case, nor have any predictions or threats been made in

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AQ.

connection with this plea. Pursuant to Rule 11 of the Federal
Rules of Criminal Procedure, the defendant certifies that the
defendant’s plea is knowing and voluntary and is not the result ”
of force or threats or promises apart from those promises set

forth in this Agreement.

Defendant is Satisfied with Assistance of Counsel. The
Defendant agrees that the defendant has discussed this case
and this Agreement in detail with the defendant’s attorney, who
has advised the defendant of the defendant's Constitutional and
other trial and appellate rights, the nature of the charges, the

elements of the offenses the United States would have to prove

_ at trial, the evidence the United States would present at such

trial, possible defenses, the advisory Sentencing Guidelines and
other aspects of sentencing, potential losses of civil rights and

privileges, and other potential consequences of pleading guilty

in this case. The defendant agrees that the defendant is

satisfied with the legal services and advice provided to the

defendant by the defendant’s attorney.
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41. Deadline for Acceptance of Plea Agreement, The original of this
Agreement must be signed by the defendant and defense
_ counsel and received by the United States Attorney’s Office on
or before 5:00 p.m., February 28, 2023, otherwise the offer may,

in the sole discretion of the Government, be deemed withdrawn.

42. Required Signatures. None of the terms of this Agreement shall
be binding on the Office of the United States Attorney for the
Middle District of Pennsylvania until signed by the defendant
and defense counsel and then signed by the United States
Attorney or his designee.

ACKNOWLEDGMENTS

I have read this agreement and carefully reviewed every part of it
with my attorney. | fully understand it And I NC agree to it.

S20 g
Date . If: DARY uA
Defendant

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I am the defendant’s counsel. I have carefully reviewed every part
of this agreement with the defendant. To my knowledge, my client’s
decision to enter into this agreement is an informed and voluntary one.

S223

Date

S/3')3
Date

JMB/2020R00250/February 9, 2023
VERSION DATE: March & 2021

DO

(aRsrOPRaRE CAPUTO, ESQ.

‘Counsel for Defendant

GERARD M. KARAM .
United States Attorney

SM. BUCHANAN
ssistant United States Attorney

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